 Case 24-19102       Doc 14    Filed 01/07/25 Entered 01/07/25 14:07:01                Desc Main
                                 Document     Page 1 of 1




                                               Certificate Number: 13861-ILN-CC-039175205


                                                              13861-ILN-CC-039175205




                    CERTIFICATE OF COUNSELING

I CERTIFY that on December 20, 2024, at 7:46 o'clock AM PST, Samantha M
Gonzalez received from Evergreen Financial Counseling, an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the Northern District of
Illinois, an individual [or group] briefing that complied with the provisions of 11
U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   December 20, 2024                      By:      /s/Kelly M Overton


                                               Name: Kelly M Overton


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
